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 4   Facsimile: (213) 493-6596

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 6   DONG NI (DONNA) XU (pro hac vice)
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 7   KOBRE & KIM LLP
     800 Third Ave
 8   New York, NY 10022
     Telephone: (212) 488-1200
 9   Facsimile: (212) 488-1220
10   Attorneys for Creditor
     Shanghai Lan Cai Asset Management Co, Ltd.
11

12                         UNITED STATES BANKRUPTCY COURT
13                          CENTRAL DISTRICT OF CALIFORNIA
14                                 LOS ANGELES DIVISION
15

16   In re:                                       Case No. 2:19-BK-24804-VZ

17   YUETING JIA,                                 DECLARATION OF DANIEL J. SAVAL
                                                  IN SUPPORT OF SHANGHAI LAN CAI
18                                                ASSET MANAGEMENT CO, LTD.’S
                                   Debtor.        OBJECTION TO DEBTOR’S MOTION
19                                                TO APPROVE DISCLOSURE
                                                  STATEMENT
20
                                                  Hearing:
21                                                Date: February 6, 2020
                                                  Time: 11:00 a.m.
22                                                Place: Courtroom 1368
                                                         Edward R. Roybal Federal Building
23                                                       255 East Temple Street
                                                         Los Angeles, California 90012
24                                                Judge: Honorable Vincent P. Zurzolo

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 1              I, Daniel J. Sava!, hereby declare under penalty of perjury that the following is true and
 2   correct:
 3              1.     I am an attorney with the law firm Kobre & Kim LLP and am admitted to practice
 4   before this Court pro hac vice as counsel for Creditor Shanghai Lan Cai Asset Management Co,
 5   Ltd. ("Shanghai Lan Cai"). [Dkt. No. 238.] I submit this declaration in support of Shanghai Lan
 6   Cai's objection, filed concurrently with this declaration, to the Debtor's Motion for an Order (1)
 7   Approving Disclosure Statement, (11) Approving Voting and Tabulation Procedures, (111) Setting
 8   Confirmation Hearing and Related Deadlines, (IV) Waiving Certain Local Rules and Procedures,
 9   and (V) Granting Related Relief[Dkt. No. 222].
10              2.     Attached to this Declaration as Exhibit 1 is a true and correct copy of the December
11   5, 2018 Injunction Order against FF Peak Holding Limited entered by the Eastern Caribbean
12   Supreme Court of the British Virgin Islands.
13              3.     Attached to this Declaration as Exhibit 2 is a true and correct copy of the December
14   5, 2018 Injunction Order against FF Top Holding Limited entered by the Eastern Caribbean
15   Supreme Court of the British Virgin Islands.
16

17
     Executed this 30 day of January, 2020.
18
     New York, New York
19

20                                                   Daniel J. Sava!
21

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                                       DECLARATION OF DANIEL J. SA VAL
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                  EXHIBIT 1
Case Case 2:19-bk-24804-VZ
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     IN THE EASTERN CARIBBEAN SUPREME COURT                                 $14..,.COl.lf'I
     IN THE HIGH COURT OF JUSTICE
     VIRING ISLANDS
     COMMERCIAL DIVISION


     CLAIM NO. BVIHC (COM) 198 of2018
                                                                    Effective Date:05/12/201815:39

     IN THE MATTER OF THE ARBITRATION ACT 2013
     AND IN THE MATTER OF AN APPLICATION TO ENFORCE AN
     ARBITRAL AWARD MADE IN AN ARBITRATION             Fees Paid: 20.00
     ADMINISTERED BY THE BEIJING ARBITRATION COMMISSION

     BETWEEN:

                 SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.
                                                                                  Applicant

                                         - and-


                                   (1) JIA YUETING
                                                                              Respondents

                          (2) FF PEAK HOLDING LIMITED
                              (3) FF TOP HOLDING LTD.
                                                                        NCA Respondents




                                        ORDER
                       Injunction against FF Peak Holding Limited



                                   PENAL NOTICE

       IF YOU FAIL TO COMPLY WITH THE TERMS OF THIS ORDER YOU MAY BE
      HELD IN CONTEMPT OF COURT AND YOUR DIRECTORS AND OFFICERS MAY
               BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED

      ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES ANYTHING
      WHICH HELPS OR PERMITS THE SECOND RESPONDENT TO BREACH THE
     TERMS OF THIS ORDER MAY ALSO BE HELD TO BE IN CONTEMPT OF COURT
           AND MAY BE IMPROSONED OR HAVE THEIR ASSETS SEIZED
Case 2:19-bk-24804-VZ        Doc 274 Filed 01/30/20 Entered 01/30/20 13:08:48                   Desc
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THIS ORDER

 I.   This is a Freezing Injunction made against FF PEAK HOLDINGS LTD ("FF PEAK" or
      the "Second Respondent")) on 5 December2018 by Justice Wallbank on the application
      of SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD. (the "Applicant") The
      Judge read the Affidavit listed in Schedule A and accepted the undertakings set out in
      Schedule Bat the end of this Order.

2.    This Order was made without notice to Second Respondent. The Second Respondent has
      a right to apply to the court to vary or discharge this Order (see paragraph 13 below).

3.    There will be a further hearing in respect of this Order on 19 December 20 I 8 at 10am with
      a time estimate of 15 minutes for directions only (the "Return Date").

FREEZING INJUNCTION

4.    Until after the conclusion of the Return Date or further order of the Court, the Second
      Respondent is, without the prior written consent of the Applicant's legal representatives:

      (a)    restrained (acting by and/or on the instruction of its directors, officers and/or
             agents) from:

             (i)     in any way disposing of, dealing with or diminishing the value of the entire
                     issued share capital of FF Peak (the "FF Peak Shares"), whether they are in
                     or outside the BVI, whether they are jointly, beneficially, legally owned or
                     otherwise up to the same value;


             (ii)    registering or causing to be registered any change in the legal ownership of
                     the FF Peak Shares in any way, including but not limited to sale, exchange,
                     contribution, and/or transfer;


             (iii)   in any way recognising or causing to be recognised or recorded in FF Peak's
                     Register of Shares (the "Register") any such purported change in or transfer
                     of all or part of the legal ownership of the FF Peak Shares;
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            (iv)   in any way recognising or recording or causing to be recognised or recorded
                   on the Register any change or transfer of the ownership of all or part of the
                   equitable interest in the FF Peak Shares, including but not limited to by way
                   of encumbrance, pledge, lien or charge over the FF Peak Shares;


            (v)    removing or allowing or instructing or causing to be removed or instructing
                   the removal of the share certificate(s) pertaining to the FF Peak Shares from
                   the territory of the Virgin Islands;


            (vi)   cancelling the FF Peak Shares and/or reissuing the FF Peak Shares, or
                   causing or instructing the same; and


            (vii) effecting or allowing to be created or effected any changes, variations or
                   amendments to any agreement, trust and/or any other similar arrangement in
                   relation to which the FF Peak Shares are held;

      (b)   restrained from in any way transferring, disposing of, pledging, charging
            diminishing the value of, encumbering or dealing with its assets up to the value of
            US$!0,800,312.00 (the "Relevant Assets") whether they are inside or outside the
            Virgin Islands, without first providing the Applicant with at least 14 days written
            notice; and

      (c)   for the purposes of this Order, the Relevant Assets are any assets of FF Peak
            whether or not they are in its own name and whether they are solely or jointly
            owned. For the purpose of this Order the Second Respondent's assets include any
            asset that it has the power, directly or indirectly, to dispose of or deal with as if it
            were its own. The Second Respondent is to be regarded as having such power if a
            third party holds or controls the asset in accordance with its direct or indirect
            instructions. The Relevant Assets include but are not limited to the following assets
            that may be held directly and indirectly by the Second Respondent:

            (i)     any shares in FF Top Holding Limited (a company registered in the BY!
                    with company number 1913133; and
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             (ii)      any shares in Smart King Limited (a company incorporated in the Cayman
                       Islands) (the "Smart King Shares")

5.    The Applicant shall have the right to notify third parties outside the jurisdiction of the High
      Court of the existence of this Order, including (but not limited to):

         a. Conyers Trust Company (BVI) Limited, as registered agent of FF Peak and FF Top;

         b. Lian Bossert as legal owner of the FF Peak Shares;

         c. FF Top as legal owner of the Smart King Shares;

         d. Jia Yeutung as beneficial owner of the FF Peak, FF Top and Smart King Shares.

PROVISION OF INFORMATION

6.    Unless paragraph 7 applies, the Second Respondent must immediately and to the best of
      its ability inform the Applicant's Legal Practitioners of all its assets worldwide exceeding
      US$1000 in value whether in its own name or not and whether solely or jointly owned,
      giving the value, location and sufficient details of all such assets to enable the Applicant to
      identify them.


7.    If the provision of any of this information is likely to incriminate the Second Respondent,
      it may be entitled to refuse to provide it, but is recommended to take legal advice before
      refusing to provide the information. Wrongful refusal to provide the information is
      contempt of court and may render the Second Respondent liable to be fined or have its
      assets seized, or its directors or officers may be imprisoned.
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 8.    Unless paragraph 7 of this Order applies, within 5 working days after being served with
       this order, a director of the Second Respondent must personally swear and serve on the
       Applicant's Legal Practitioners an affidavit:

       (a) setting out the information described in paragraph 6 above; and

       (b) exhibiting copies of all documents which relate to the receipt, transfer of, or dealing
           with any monies or assets described in paragraph 4 of this Order including the FF Peak
           Shares and the Relevant Assets.

EXCEPTIONS TO THIS ORDER

9.     This Order will cease to have effect if the Respondent -

       (a) provides security by paying the sum ofUS$10,800,312.00 into court, to be held to the
          Order of the court; or
       (b) makes provision for security in that sum by another method agreed in writing with the
           Applicant's Legal Practitioners

l 0.   This Order does not prohibit the Second Respondent from spending a reasonable sum on
       legal advice and representation. But before spending any money the Second Respondent
       must tell the Applicant's legal representatives where the money is to come from including
       the bank account and the source of the funding.

 11.   This Order does not prohibit the Second Respondent from dealing with or disposing of any
       of its assets in the ordinary and proper course of business.

 12.   The Second Respondent may agree with the Applicant's legal representatives that this
       Order should be varied, but any agreement must be in writing.

COSTS

 13.   The costs of this application are reserved to the Return Date.
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V ARIA TI ON OR DISCHARGE OF THIS ORDER

 14.   Anyone served with or notified of this Order may apply to the court at any time to vary or
       discharge this Order (or so much of it as affects that person), but they must first inform the
       Applicant's legal representatives. If any evidence is to be relied upon in support of the
       application, the substance of it must be served on the Applicant's legal representatives no
       less than 48 hours' in advance.

INTERPRETATION OF THIS ORDER

 15.   A Respondent who is an individual who is ordered not to do something must not do it
       himself or in any other way. He must not do it through others acting on his behalf or on his
       instructions or with his encouragement.

 16.   A Respondent which is not an individual which is ordered not to do something must not
       do it itself or by its directors, officers, partners, employees or agents or in any other way.

PARTIES OTHER THAN THE APPLICANT AND RESPONDENT

17.    Effect of this Order:

       It is a contempt of court for any person notified of this Order knowingly to assist in or
       permit a breach of this Order. Any person doing so may be imprisoned, fined or have their
       assets seized.

18.    Set off by banks:

       This injunction does not prevent any bank from exercising any right of set off it may have
       in respect of any facility which it gave to the respondent before it was notified of this Order.

19.    Withdrawals by the Second Respondent:

       No bank need enquire as to the application or proposed application of any money
       withdrawn by the Respondent if the withdrawal appears to be permitted by this Order.

20.    Persons outside the BVI:
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      (a)     Except as provided in paragraph (b) below, the terms of this Order do not affect or
              concern anyone outside the jurisdiction of this Court.

      (b)     The terms of this Order will affect the following persons in a country or state
              outside the jurisdiction of this court:

              (i)     the Second Respondent or its officer or agent appointed by power of
                      attorney;

              (ii)    any person who:

                      (A)     is subject to the jurisdiction of this Court;

                      (B)     has been given written notice of this Order at his residence or place
                              of business within the jurisdiction of this Court; and

                      (C)     is able to prevent acts or omissions outside the jurisdiction of this
                              Court which constitute or assist in a breach of the terms of this
                              Order; and

             (iii)   any other person, only to the extent that this Order is declared enforceable
                      by or is enforced by a court in that country or state.

ASSETS LOCATED OUTSIDE VIRGIN ISLANDS

21.   Nothing in this Order shall, in respect of assets located outside BVI, prevent any third party
      from complying with:

      (a)    what it reasonably believes to be its obligations, contractual or otherwise, under the
             laws and obligations of the country or state in which those assets are situated or
             under the proper law of any contract between itself and the Respondent; and

      (b)    any orders of the courts of that country or state, provided that reasonable notice of
             any application for such an order is given to the Applicant's solicitors.
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COMMUNICATIONS WITH THE COURT

All communications to the Court about this Order should be sent to:-

The Court Office is located at the Registry of the High Court, 2nd Floor SAKAL Building,
 Wickham's Cay PO Box 418 Road Town Tortola, British Virgin Islands: Telephone +1 (284) 468
 5001 or + 1 (284) 468 4909. Email: commercialdivisionvi@gov.vg. The Court office is open
between 8:30 am and 4:30 pm Monday to Friday except public holidays.

NAME AND ADDRESS OF APPLICANT'S LEGAL REPRESENTATIVE

The Applicant's legal representatives are Kobre & Kim (BVI) LP, Commerce House, Waterfront
Drive, Road Town, Tortola, British Virgin Islands; Telephone: 284 852 1600, Email: peter.tyers-
smith@kobrekim.com; Ref. 03787.001
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                                         SCHEDULE A

AFFIDAVITS

The Applicant relied on the following affidavit-

  Name                           No. of affidavit     Date sworn                Filed on behalf of

  (I) Kang Jian                  2                    27 November 2018          Applicant




                                         SCHEDULEB

UNDERTAKINGS GIVEN TO THE COURT BY THE APPLICANT

(I)      If the Court later finds that this Order has caused loss to the Second Respondents and
         decides that it should be compensated for that loss, the Applicant will comply with any
         order that the Court may make up to the value of US$ I 0,800,312.00.

(2)      Anyone notified of this Order will be given a copy of it by the Applicant's legal
         representatives.

(3)      The Applicant shall pay the reasonable costs of anyone other than the Second Respondent
         that have been incurred as a result of this Order including the costs of finding out whether
         that person holds any of such Respondent's assets and if the Court later finds that this
         Order has caused such person loss, and decides that such person should be compensated
         for that loss, the Applicant will comply with any order the Court may make.

(4)      If this Order ceases to have effect, the Applicant shall immediately take all reasonable
         steps to inform in writing anyone to whom it has given notice of this Order, or who it has
         reasonable grounds for supposing may act upon this Order that it has ceased to have
         effect.
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                                  IN THE EASTERN CARIBBEAN SUPREME COURT
                                              IN THE HIGH COURT OF JUSTICE
                                                            VTRING ISLANDS
                                                      COMMERCIAL DIVISION


                                               CLAIM NO. BVIHC (COM) 198 of2018
                                  IN THE MATTER OF THE ARBITRATION ACT 2013

                        AND IN THE MATTER OF AN APPLICATION TO ENFORCE AN
                                     ARBITRAL AWARD ADMINISTERED BY THE
                                          BEIJING ARBITRATION COMMISSION

                                                                           BETWEEN:

                              SHANGAHI LAN CAI ASSET MANAGEMENT CO, LTD.

                                                                              Applicant

                                                                                 - and-


                                                                     JIA YUETING (1)

                                                                           Respondents

                                                   FF PEAK HOLDING LIMITED (2)
                                                        FF TOP HOLDING LTD. (3)

                                                                      NCA Respondents



                                                                              ORDER
                                            Injunction Against FF Peak Holding Limited



                                                                 Kobre & Kim (BVI) LP
                                                 Legal Practitioners for the Applicants
                                                                       Tel: 284 852 1600
                                                 Email: peter.tyers-smith@kobrekim.com
                                                                          Ref. 03787.001
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                  EXHIBIT 2
CaseCase 2:19-bk-24804-VZ
     Number               Doc 274 Filed 01/30/20 Entered 01/30/20 13:08:48
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     IN THE EASTERN CARIBBEAN SUPREME COURT                                Si.;•14co.,,'j
     IN THE HIGH COURT OF JUSTICE
     VIRING ISLANDS
     COMMERCIAL DIVISION


     CLAIM NO. BVIHC (COM) 198 of2018
                                                                   Effective Date:05/12/2018 15:39


     IN THE MATTER OF THE ARBITRATION ACT 2013
     AND IN THE MATTER OF AN APPLICATION TO ENFORCE AN
     ARBITRAL AWARD MADE IN AN ARBITRATION             Fees Paid: 20,00
     ADMINISTERED BY THE BEIJING ARBITRATION COMMISSION

     BETWEEN:

                  SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.
                                                                                 Applicant

                                          - and-


                                   (1) JIA YUETING
                                                                              Respondents

                           (2) FF PEAK HOLDING LIMITED
                               (3) FF TOP HOLDING LTD.
                                                                       NCA Respondents




                                         ORDER
                          Injunction Against FF Top Holding Ltd.


                                    PENAL NOTICE

       IF YOU FAIL TO COMPLY WITH THE TERMS OF THIS ORDER YOU MAY BE
      HELD IN CONTEMPT OF COURT AND YOUR DIRECTORS AND OFFICERS MAY
               BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED

       ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES ANYTHING
        WHICH HELPS OR PERMITS THE THIRD RESPONDENT TO BREACH THE
      TERMS OF THIS ORDER MAY ALSO BE HELD TO BE IN CONTEMPT OF COURT
            AND MAY BE IMPROSONED OR HAVE THEIR ASSETS SEIZED
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 THIS ORDER

 1.    This is a Freezing Injunction made against FF TOP HOLDINGS LTD. ("FF TOP" or
       the "Third Respondent")) on 5 December 2018 by Justice Wallbank on the application of
       SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD. (the "Applicant") The
       Judge read the Affidavit listed in Schedule A and accepted the undertakings set out in
       Schedule Bat the end of this Order.

 2.    This Order was made without notice to Third Respondent. The Third Respondent has a
       right to apply to the court to vary or discharge this Order (see paragraph 13 below).

 3.    There will be a further hearing in respect of this Order on 19 December 2018 at I 0am with
       a time estimate of 15 minutes for directions only (the "Return Date").

 FREEZING INJUNCTION

 4.    Until after the conclusion of the Return Date or further order of the Court, the Third
       Respondent is, without the prior written consent of the Applicant's legal representatives:

       (a)    restrained (acting by and/or on the instruction of its directors, officers and/or
              agents) from:

              (i)   in any way disposing of, dealing with or diminishing the value of the entire
                    issued share capital of FF Top (the "FF Top Shares"), whether they are in or
                    outside the BVI, whether they are jointly, beneficially, legally owned or
                    otherwise up to the same value;


              (ii) registering or causing to be registered any change in the legal ownership of the
                    FF Top Shares in any way, including but not limited to sale, exchange,
                    contribution, and/or transfer;


              (iii) in any way recognising or causing to be recognised or recorded in FF Top's
                    Register of Shares (the "Register") any such purported change in or transfer
                    of all or part of the legal ownership of the FF Top Shares;
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             (iv) in any way recognising or recording or causing to be recognised or recorded
                   on the Register any change or transfer of the ownership of all or part of the
                   equitable interest in the FF Top Shares, including but not limited to by way of
                   encumbrance, pledge, lien or charge over the FF Top Shares;


             (v) removing or allowing or instructing or causing to be removed or instructing
                   the removal of the share certificate(s) pertaining to the FF Top Shares from the
                   territory of the Virgin Islands;


             (vi) cancelling the FF Top Shares and/or reissuing the FF Top Shares, or causing
                   or instructing the same; and


             (vii) effecting or allowing to be created or effected any changes, variations or
                   amendments to any agreement, trust and/or any other similar arrangement in
                   relation to which the FF Top Shares are held;

       (b)   restrained from in any way transferring, disposing of, pledging, charging
             diminishing the value of, encumbering or dealing with its assets up to the value of
             US$10,800,312.00 (the "Relevant Assets") whether they are inside or outside the
             Virgin Islands, without first providing the Applicant with at least 14 days written
             notice; and

       (c)   for the purposes of this Order, the Relevant Assets are any assets of FF Top whether
             or not they are in its own name and whether they are solely or jointly owned. For
             the purpose of this Order the Third Respondent's assets include any asset that it has
             the power, directly or indirectly, to dispose of or deal with as if it were its own. The
             Third Respondent is to be regarded as having such power if a third party holds or
             controls the asset in accordance with its direct or indirect instructions. The Relevant
             Assets include but are not limited to the following assets that may be held directly
             and indirectly by the Third Respondent:

             (i)      any shares in Smart King Limited (a company incorporated in the Cayman
                      Islands) (the "Smart King Shares")
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  5.   The Applicant shall have the right to notify third parties outside the jurisdiction of the High
       Court of the existence of this Order, including (but not limited to):

           a. Conyers Trust Company (BVI) Limited, as registered agent of FF Peak and FF Top;

           b. FF Peak as legal owner of the FF Top Shares;

          c. Smart King as issuer of the Smart King Shares;

          d. Jia Yueting as beneficial owner of FF Peak, the FF Top Shares, and the Smart King
               Shares.

  PROVISION OF INFORMATION

  6.   Unless paragraph 7 applies, the Third Respondent must immediately and to the best of its
       ability inform the Applicant's Legal Practitioners of all its assets worldwide exceeding
       US$ IOOO in value whether in its own name or not and whether solely or jointly owned,
       giving the value, location and sufficient details of all such assets to enable the Applicant to
       identify them.


  7.   If the provision of any of this information is likely to incriminate the Third Respondent, it
       may be entitled to refuse to provide it, but is recommended to take legal advice before
       refusing to provide the information. Wrongful refusal to provide the information is
       contempt of court and may render the Third Respondent liable to be fined or have its assets
       seized, or its directors or officers may be imprisoned.
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 8.     Unless paragraph 7 of this Order applies, within 5 working days after being served with
        this order, a director of the Third Respondent must personally swear and serve on the
        Applicant's Legal Practitioners an affidavit:

        (a) setting out the information described in paragraph 6 above; and

        (b) exhibiting copies of all documents which relate to the receipt, transfer of, or dealing
           with any monies or assets described in paragraph 4 of this Order including the FF Top
            Shares and the Relevant Assets.

 EXCEPTIONS TO THIS ORDER

 9.     This Order will cease to have effect if the Respondent -

        (a) provides security by paying the sum of US$! 0,800,312.00 into court, to be held to the
            Order of the court; or

        (b) makes provision for security in that sum by another method agreed in writing with the
           Applicant's Legal Practitioners

 I 0.   This Order does not prohibit the Third Respondent from spending a reasonable sum on
        legal advice and representation. But before spending any money the Third Respondent
        must tell the Applicant's legal representatives where the money is to come from including
        the bank account and the source of the funding.

 11.    This Order does not prohibit the Third Respondent from dealing with or disposing of any
        of its assets in the ordinary and proper course of business.

 12.    The Third Respondent may agree with the Applicant's legal representatives that this Order
        should be varied, but any agreement must be in writing.

 COSTS

 13.    The costs of this application are reserved to the Return Date.
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 V ARIA TI ON OR DISCHARGE OF THIS ORDER

 14.   Anyone served with or notified of this Order may apply to the court at any time to vary or
       discharge this Order (or so much ofit as affects that person), but they must first inform the
       Applicant's legal representatives. If any evidence is to be relied upon in support of the
       application, the substance of it must be served on the Applicant's legal representatives no
       less than 48 hours' in advance.

 INTERPRETATION OF THIS ORDER

 15.   A Respondent who is an individual who is ordered not to do something must not do it
       himself or in any other way. He must not do it through others acting on his behalf or on his
       instructions or with his encouragement.

 16.   A Respondent which is not an individual which is ordered not to do something must not
       do it itself or by its directors, officers, partners, employees or agents or in any other way.

 PARTIES OTHER THAN THE APPLICANT AND RESPONDENT

 17.   Effect of this Order:

       It is a contempt of court for any person notified of this Order knowingly to assist in or
       permit a breach of this Order. Any person doing so may be imprisoned, fined or have their
       assets seized.

 18.   Set off by banks:

       This injunction does not prevent any bank from exercising any right of set off it may have
       in respect ofany facility which it gave to the respondent before it was notified of this Order.

 19.   Withdrawals by the Third Respondent:

       No bank need enquire as to the application or proposed application of any money
       withdrawn by the Respondent if the withdrawal appears to be permitted by this Order.

 20.   Persons outside the BVI:
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       (a)    Except as provided in paragraph (b) below, the terms of this Order do not affect or
              concern anyone outside the jurisdiction of this Court.

       (b)    The terms of this Order will affect the following persons in a country or state
              outside the jurisdiction of this court:

              (i)     the Third Respondent or its officer or agent appointed by power of attorney;

              (ii)    any person who:

                      (A)     is subject to the jurisdiction of this Court;

                      (B)     has been given written notice of this Order at his residence or place
                              of business within the jurisdiction of this Court; and

                      (C)     is able to prevent acts or omissions outside the jurisdiction of this
                              Court which constitute or assist in a breach of the terms of this
                              Order; and

              (iii)   any other person, only to the extent that this Order is declared enforceable
                      by or is enforced by a court in that country or state.

 ASSETS LOCATED OUTSIDE VIRGIN ISLANDS

 21.   Nothing in this Order shall, in respect of assets located outside BVI, prevent any third party
       from complying with:

       (a)    what it reasonably believes to be its obligations, contractual or otherwise, under the
              laws and obligations of the country or state in which those assets are situated or
              under the proper law of any contract between itself and the Respondent; and

       (b)    any orders of the courts of that country or state, provided that reasonable notice of
              any application for such an order is given to the Applicant's solicitors.
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  COMMUNICATIONS WITH THE COURT

  All communications to the Court about this Order should be sent to:-

  The Court Office is located at the Registry of the High Court, 2 nd Floor SAKAL Building,
  Wickham's Cay PO Box 418 Road Town Tortola, British Virgin Islands: Telephone+ 1 (284) 468
  5001 or +I (284) 468 4909. Email: commercialdivisionvi@gov.vg. The Court office is open
  between 8:30 am and 4:30 pm Monday to Friday except public holidays.

  NAME AND ADDRESS OF APPLICANT'S LEGAL REPRESENTATIVE

  The Applicant's legal representatives are Kobre & Kim (BVI) LP, Commerce House, Waterfront
  Drive, Road Town, Tortola, British Virgin Islands; Telephone: 284 852 1600, Email: peter.tyers-
  smith@kobrekim.com; Ref. 03787.001
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                                          SCHEDULE A

 AFFIDAVITS

 The Applicant relied on the following affidavit-

   Name                          No. of affidavit      Date sworn               Filed on behalf of

   (I) Kang Jian                  2                    27 November 2018         Applicant




                                          SCHEDULEB

 UNDERTAKINGS GIVEN TO THE COURT BY THE APPLICANT

 (1)      lfthe Court later finds th.at this Order has caused loss to the Third Respondent and decides
          that it should be compensated for that loss, the Applicant will comply with any order that
          the Court may make up to the value of US$ US$ I 0,800,312.00.

 (2)      Anyone notified of this Order will be given a copy of it by the Applicant's legal
          representatives.

 (3)      The Applicant shall pay the reasonable costs of anyone other than the Third Respondent
          that have been incurred as a result of this Order including the costs of finding out whether
          that person holds any of such Respondent's assets and if the Court later finds that this
          Order has caused such person loss, and decides that such person should be compensated
          for that loss, the Applicant will comply with any order the Court may make.

 (4)      If this Order ceases to have effect, the Applicant shall immediately take all reasonable
          steps to inform in writing anyone to whom it has given notice of this Order, or who it has
          reasonable grounds for supposing may act upon this Order that it has ceased to have
          effect.
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                               IN THE EASTERN CARIBBEAN SUPREME COURT
                                           IN THE HIGH COURT OF JUSTICE
                                                         VIRING ISLANDS
                                                   COMMERCIAL DIVISION


                                            CLAIM NO. BVIHC (COM) 198 of2018
                              IN THE MATTER OF THE ARBITRATION ACT 2013

                   AND IN THE MATTER OF AN APPLICATION TO ENFORCE AN
                                ARBITRAL AW ARD ADMINISTERED BY THE
                                     BEIJING ARBITRATION COMMISSION

                                                                        BETWEEN:

                           SHANGAHI LAN CAI ASSET MANAGEMENT CO, LTD.

                                                                           Applicant

                                                                              - and -


                                                                  JIA YUETING (1)

                                                                        Respondents

                                                FF PEAK HOLDING LIMITED (2)
                                                     FF TOP HOLDING LTD. (3)

                                                                   NCA Respondents



                                                                           ORDER
                                         Injunction Against FF Peak Holding Limited



                                                              Kobre & Kim (BVI) LP
                                              Legal Practitioners for the Applicants
                                                                    Tel: 284 852 1600
                                              Email: peter.tyers-smith@kobrekim.com
                                                                       Ref. 03787.001
        Case 2:19-bk-24804-VZ                       Doc 274 Filed 01/30/20 Entered 01/30/20 13:08:48                                              Desc
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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Lesnick Prince & Pappas LLP, 315 W. Ninth St., Suite 705, Los Angeles, CA 90015

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF DANIEL J. SAVAL IN
SUPPORT OF SHANGHAI LAN CAI ASSET MANAGEMENT CO, LTD.’S OBJECTION TO DEBTOR’S
MOTION TO APPROVE DISCLOSURE STATEMENT will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) 01/30/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
       Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       David W. Meadows david@davidwmeadowslaw.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 01/30/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

        Honorable Vincent P. Zurzolo
        United States Bankruptcy Court
        255 E. Temple St., Suite 1360
        Los Angeles, CA 90012
                                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  01/30/2020                      Janet A. Mack                                                         /s/Janet A. Mack
  Date                            Printed Name                                                          Signature


                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


 December 2012                                                                                             F 9013-3.1.PROOF.SERVICE
